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             IN THE UNITED STATES DISTRICT COURT FOR THE

                       WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA                              )
                                                      )
              Plaintiff,                              )
                                                      )     Case No: CR-08-121-R
v.                                                    )
                                                      )
SAMUEL GREGORY COPE                                   )
                                                      )
              Defendant.                              )


                  JUDGEMENT AND COMMITMENT ORDER ON
                    REVOCATION OF SUPERVISED RELEASE


              On April 13, 2010, this matter came before the Court for a hearing on the

Request for Summons and Modification of the Conditions or Terms of Supervision (Doc.

6) filed by the United States Probation Office on March 25, 2010. Assistant U.S. Attorney

Brandon Hale represented the United States, Mr. William P. Earley appeared for the

defendant, and the defendant appeared in person. U.S. Probation Officer Jeff Yowell

appeared for the United States Probation Office.

              The defendant was advised of the allegations contained in the Petition.

Officer Yowell testified, the United States offered three exhibits, and defendant testified.

Both counsel made arguments as to disposition.

              Based upon the evidence presented, this Court finds that the defendant has

violated the conditions of his Supervised Release as alleged in the Petition. In light of
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violation number 1, this Court orders defendant to totally abstain from alcohol. But this

Court declines to order defendant to participate in and complete Moral Reconation

Therapy. Regarding violation number 2, this Court grants defendant an exception to

Standard Condition number 9 with respect to Ms. Catina Thomas, a convicted felon.

Defendant may continue to associate with and live with her.

              IT IS SO ORDERED this 15th day of April, 2010.




                                             2
